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    IT IS ORDERED as set forth below:



    Date: August 2, 2018

                                                                      _____________________________________
                                                                                 Lisa Ritchey Craig
                                                                            U.S. Bankruptcy Court Judge

    _______________________________________________________________

                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE: JIMMIE LEE CHAPMAN JR.                     )    CASE NO. 18-53711-LRC
                                                  )
                                                  )    CHAPTER 13
         Debtor                                   )
                                                  )    JUDGE RITCHEY CRAIG
 

                CONSENT ORDER ON OBJECTION TO CONFIRMATION
        The above styled Objection to Confirmation by Microf LLC (“Microf”) having been set for

hearing on July 10, 2018, and it appearing to the Court that the parties consent hereto:

        IT IS HEREBY ORDERED that the Objection to Confirmation is SUSTAINED, and will

be addressed by the terms set out herein; and it is

        FURTHER ORDERED that the $1,557.45 in arrears owing on Debtor’s lease with Creditor

Microf as of July 23, 2018 shall be cured as follows:
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       1. Debtor shall pay $934.47 in arrears directly to Microf by August 3, 2018.

       2. Debtor shall amend the plan to cure $622.98 in arrears through payments by the Chapter

           13 Trustee.

       and it is

       FURTHER ORDERED that Microf shall be allowed to amend its previously filed Proof of

Claim (Claim No. 6) in conformance with the amended plan; and it is

       FURTHER ORDERED that Debtor will resume making regular monthly lease payments

direct to Microf, per the terms of the lease agreement, with the payment of $311.49 coming due

on August 20, 2018; and it is

       FURTHER ORDERED that should Debtor default on payment of the $934.47 in arrears

owing and to be paid direct by August 3, 2018, then upon notice of default sent to Debtor by first

class mail and Debtor’s attorney by first class mail or electronic mail, and failure of Debtor to cure

such default within fourteen days of transmission of such notice, Microf may file a motion and

affidavit of default with the Court, with service upon Debtor and Debtor’s attorney, and the Court

may enter an order modifying the automatic stay, without further notice or hearing; and it is

       FURTHER ORDERED that upon the filing of a new plan complying with the directions

of this Order, Microf shall withdraw its pending Objection to Confirmation within seven (7) days

of the filing of the amended plan.

                                      END OF DOCUMENT

Prepared by:

s/ W. Read Pope
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Ga. Bar No. 753805
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Consented to by:

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